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                                              ALEKSANDR KUZMENKO
                                          6
                                          7
                                          8                                 IN THE UNITED STATES DISTRICT COURT

                                          9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                         10
                                         11   UNITED STATES OF AMERICA,                                  Case No. 2:14-CR-00044-MCE
                                         12                    Plaintiff,
                                                                                                         STIPULATION AND ORDER
               SACRAM ENTO, CALIFORNIA




                                         13           v.                                                 MODIFYING PRETRIAL RELEASE
B ARTH D ALY LLP
                  ATTORNEYS AT LAW




                                                                                                         CONDITION
                                         14   ALEKSANDR KUZMENKO,
                                         15                    Defendant.

                                         16
                                         17                                                  STIPULATION

                                         18           Plaintiff United States of America, by and through Assistant United States Attorney

                                         19   Michele Beckwith, and defendant Aleksandr Kuzmenko, by and through his counsel of record,

                                         20   Kresta Nora Daly, hereby stipulate that Pretrial Release Condition 13 be modified.

                                         21           Pretrial Release Condition 13 currently prohibits Mr. Kuzemenko from having contact

                                         22   with any of his co-defendants with the exception of his brother Petr Kuzmenko. Mr. Kuzmenko’s

                                         23   cousin, Arsen Muhtarov is also charged in this case. Mr. Kuzmenko wishes to have contact with

                                         24   Mr. Muhtarov. Pre-trial services is aware of this request and has no objection. Therefore the

                                         25   parties stipulate Pretrial Release Condition 13 be amended to read as follows:

                                         26           13. You shall not associate or have any contact with any of the co-

                                         27                defendants in your federal case, with the exception of Peter Kuzmenko

                                         28                and Arsen Muhtarov, unless in the presence of counsel or otherwise
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                                                STIPULATION AND ORDER MODIFYING PRETRIAL RELEASE CONDITIONS                  [Case No. 2:14-CR-00044-MCE]
                                                 Case 2:14-cr-00044-TLN Document 53 Filed 04/24/14 Page 2 of 2


                                          1          approved in advance by the pretrial services officer.
                                          2   Dated: April 15, 2014.
                                          3                                                     /s/Kresta Nora Daly
                                                                                              Assistant United States Attorney Michele Beckwith
                                          4
                                          5   Dated: April 15, 2013.                    BARTH DALY LLP
                                          6
                                                                                        By     /s/Kresta Nora Daly
                                          7                                                    KRESTA NORA DALY
                                                                                        Attorneys for Defendant
                                          8                                             Aleksandr Kuzmenko
                                          9
                                         10                                                      ORDER
                                         11          IT IS HEREBY ORDERED that Pretrial Release Condition 13 be modified as stated
                                         12   above. All other Pretrial Release conditions previously imposed remain in effect.
               SACRAM ENTO, CALIFORNIA




                                         13
B ARTH D ALY LLP
                  ATTORNEYS AT LAW




                                         14   Dated: April 22, 2014
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                                               STIPULATION AND ORDER MODIFYING PRETRIAL RELEASE CONDITIONS                     [Case No. 2:14-cr-00044-MCE]
